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                         UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF CALIFORNIA


UNITED STATES OF AMERICA       t                 CASE NO. 13cr1333 BEN

                        Plaintiff        t



                 vs.                             JUDGMENT OF DISMISSAL
JAIME GIOVANNI ZAPATA (5)t

                        Defendant.


            IT APPEARING that the defendant is now entitled to be discharged
for       reason that:

__
 X__ an indictment has been   led in another case against the defendant and
         Court has granted the motion of the Government for dismis    of
     this case without prejudice; or
                 t




      the Court has dismis               the case for unnecessary delay; or

      the Court has granted the motion of the Government for dismis
      without prejudice; or

      the Court has granted the motion of the defendant for a judgment of
      acquittal; or

      a jury has been waived         t   and the Court has found the defendant not
      guiltYi or

      the jury has returned its verdict t           finding the defendant not guiltYi

__
 X__ of the offense(s) as charged in the Indictment/Information:

      8:1326(a) and (b) - Removed Alien Found                     the United States



            IT IS THEREFORE ADJUDGED that the                endant is hereby discharged.


 DATED: 6/13/2013
                                                  Barbara L. Major
                                                  U.S. Magistrate Judge
